
644 S.E.2d 563 (2007)
STATE of North Carolina
v.
John Henry YOUNG.
No. 417P06.
Supreme Court of North Carolina. Twenty-First District.
March 8, 2007.
Kevin P. Bradley, Durham, for Young.
Kathryn J. Thomas, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 9th day of August 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
Justice HUDSON recused.
